            Case 3:23-cv-01699-MC           Document 79               Filed 01/13/25   Page 1 of 19




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                                  IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION

     HAMZA MAHAMMED JAMA,                                   Case No. 3:23-cv-01699-MC

                     Plaintiff,                             DEFENDANT'S MOTION FOR SUMMARY
                                                            JUDGMENT
             v.

     KENNETH BALL, Chaplain,

                     Defendant.

                                   LR 7-1 CERTIFICATE OF CONFERRAL

             Pursuant to Local Rule 7-1(a)(1)(C), the undersigned certifies that he conferred with

     Plaintiff on January 13, 2025. The parties discussed the nature of this motion, including all

     grounds on which Defendant seeks summary judgment, but were unable to come to an

     agreement.

                                                   MOTION

             Plaintiff’s claims in this lawsuit arise out of accommodations for Jumu’ah prayer at Deer

     Ridge Correctional Institution (DRCI) from 2022 to 2023. (Am. Compl., Dkt. #9). Plaintiff



Page 1 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                         Department of Justice
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                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
            Case 3:23-cv-01699-MC             Document 79               Filed 01/13/25   Page 2 of 19




     Hamza Mahammed Jama is a former ODOC adult in custody (AIC). He was housed at DRCI

     from March 31, 2021 through November 30, 2023, and has since released from custody.

             Plaintiff alleges that Chaplain Ball failed to provide a sufficiently clean area for Muslim

     AICs to participate in the Jumu’ah prayer. (See id. at ¶¶ 6-17). Specifically, Plaintiff alleges that

     the room designated for the Jumu’ah prayer was dirty, and that Chaplain Ball did not take

     sufficient steps to remedy its dirtiness. (Id.). Plaintiff also alleges that the Jumu’ah prayer was

     often canceled. (See id. at ¶¶ 18-22).

             Based on these allegations, Plaintiff brings four claims in this case. First and second,
     Plaintiff brings a claim under the First Amendment, alleging that Chaplain Ball violated both the

     Free Exercise Clause and the Establishment Clause. (Id. at pp. 18-20). Third, Plaintiff brings a

     claim under the Religious Land Use and Institutionalized Persons Act (RLUIPA). (Id.). Fourth,

     Plaintiff brings a claim under the Fourteenth Amendment, alleging that Chaplain Ball violated

     the Equal Protection Clause. (Id. at pp. 20-21). Plaintiff is seeking money damages (id. at pp.

     22-23), “declaratory relief” (id. at p. 2), and injunctive relief (id. at pp. 21-22).

             Defendant moves for summary judgment on five grounds: (1) Plaintiff’s claims for

     declaratory and injunctive relief are mooted by his release from custody; (2) Plaintiff’s RLUIPA

     claim is mooted by his release from custody; (3) Chaplain Ball’s conduct did not infringe

     Plaintiff’s constitutional rights; (4) Chaplain Ball is entitled to qualified immunity from money

     damages; and (5) Plaintiff has not alleged sufficient facts to support the damages he seeks in his

     Amended Complaint.

             In support of this motion, Defendant relies on the below memorandum of law, as well as

     the declarations of Kenneth Ball and Miguel Melendez.




Page 2 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                           Department of Justice
                                                     100 SW Market Street
                                                       Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000
            Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 3 of 19




                                        MEMORANDUM OF LAW

     I.      Statement of Facts.

             A.       Plaintiff’s release from custody.

             Mr. Jama was an AIC housed at DRCI from March 31, 2021 through November 30,

     2023. (Melendez Decl., Ex. 1, p. 1). Mr. Jama was released from ODOC custody on

     January 3, 2025. (Id.).

             B.       ODOC religious services rules.

             ODOC’s rules governing religious services for AICs are set forth in OAR Chapter 291,
     Division 143, Religious Services (AIC). (Ball Decl., Ex. 1).

             Under OAR 291-143-0070(1), “A chaplain in each Department of Corrections facility is

     responsible for coordination and facilitation of inmate religious activities.” (Id. at Ex. 1, p. 2).

     OAR 291-143-0070(4) provides:

             If a chaplain is not qualified to lead a particular religious activity and an approved
             volunteer is not available, the chaplain or designee, with the assistance of the
             Religious Services administrator or assistant administrator or others as needed,
             will:

             (a)     Seek out and invite a qualified individual from the community to conduct
             the religious activity as a religious volunteer; or

             (b)     Work with a religious representative to provide when possible alternative
             means for the conduct of the requested activity in a manner that is consistent with
             department rules and facility procedures. Alternative means may include, when
             determined appropriate by the chaplain, use of a script, liturgy, audio, video, or
             other available media.

             (c)    The chaplain will determine whether an approved activity will be
             accommodated in the context of a group activity or limited to individual practice,
             based on the availability of staff or volunteer resources.
     (Id. at Ex. 1, p. 2).

             Within ODOC, AICs are not permitted to lead religious activities. The rules provide:

             Inmates shall not be permitted to direct, lead, or conduct other inmates in
             religious activities. If a chaplain or a qualified religious volunteer approved by
             the department is unavailable to direct, lead, or conduct an approved religious
             activity requested by an inmate, an alternative means for the activity is not


Page 3 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                          Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
            Case 3:23-cv-01699-MC           Document 79                Filed 01/13/25   Page 4 of 19



             acquired, the inmate’s request will be denied until such time as a qualified
             religious volunteer or alternative means of accommodation becomes available.
     (Id. at Ex. 1, p. 2 (OAR 291-143-0070(5)).

             ODOC’s rules prohibit AICs from directing, leading, or conducting religious services for

     other AICs for reasons of institutional security. (Bell Decl., ¶ 9). If an AIC were permitted to

     lead other AICs in religious services, uneven power dynamics and social hierarchies could

     develop that could put AICs at risk. (Id.). In addition, there is a risk that AICs could

     misrepresent faith traditions to other AICs if religious services were conducted outside the

     presence of chaplains or approved volunteers. (Id.).
             Under the rules, each prison’s functional unit manager is responsible for designating

     areas of the prison that may be used for religious services. OAR 291-143-0090 provides: “The

     functional unit manager of each facility shall designate areas of sufficient size and quantity

     appropriate for the conduct of approved religious activities.” (Id. at Ex. 1, p. 3).

             C.      DRCI religious services.

                     1.       Accommodations for DRCI AICs when the Chapel was closed.

             DRCI had one chaplain at all times relevant to Plaintiff’s claims, the defendant, Kenneth

     Ball. Although Chaplain Ball consistently tried to find an Imam or volunteer willing to come to

     DRCI to serve DRCI’s Muslim AICs, he was unable to find one during his tenure. (Id. at ¶ 14).

     To assist Chaplain Ball in facilitating the Jumu’ah prayer, he sought the guidance of a volunteer

     at the Oregon State Penitentiary, Imam Mohammed Salem Siala. (Id.). Imam Siala provided

     Chaplain Ball with the text (or “Khutba”) via e-mail, which Chaplain Ball then printed and

     provided to the AICs attending Jumu’ah prayer. (Id.).

             When Chaplain Ball was available, he directly supervised the Jumu’ah prayer. (Id. at

     ¶ 15). When he was unavailable, he asked one of the non-Islamic volunteers to supervise the

     Jumu’ah prayer. (Id.). When he was unavailable and no volunteer was available, he ensured the

     Khutba was delivered to the AICs for them to pray individually in their cell. (Id.). Chaplain Ball

     spoke with Imam Siala regarding the sufficiency of this arrangement, and Imam Siala assured

Page 4 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                          Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
              Case 3:23-cv-01699-MC         Document 79                Filed 01/13/25   Page 5 of 19




     him it was an acceptable arrangement under the circumstances. (Id. at ¶ 16). Regardless, it was

     uncommon during Chaplain Ball’s tenure for the AICs to be limited to individual prayer in their

     cells. (Id. at ¶ 17).

                     2.       The area designated for Jumu’ah prayer.

              During the relevant time, the functional unit manager designated either the Chapel or

     Room N123 as the area of DRCI for AICs to participate in the Jumu’ah prayer. (Id. at

     ¶ 19).

              The Jumu’ah prayer was held each Friday afternoon from 11:45am to 1:00pm. (Id. at
     ¶ 12). To prepare for the Jumu’ah prayer, Chaplain Ball directed the clerks employed by

     Religious Services to clean the area. (Id. at ¶¶ 20-21). As to the Chapel, Chaplain Ball directed

     the clerks to vacuum the carpet and disinfect all hard surfaces every Thursday. (Id. at ¶ 20). As

     to Room N123, Chaplain Ball directed the clerks to sweep and mop the linoleum floor every

     Thursday. (Id. at ¶ 21). Chaplain Ball’s goal was to ensure that those AICs participating in the

     Jumu’ah prayer would be able to do so without defiling their prayer rugs. (Id.).

     II.      Summary Judgment Standard.

              Summary judgment is appropriate when there is no genuine issue as to any material fact

     and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). The

     initial burden is for the moving party to point out the absence of any genuine issue of material

     fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

              Once that initial burden is satisfied, the burden shifts to the non-movant to demonstrate

     through the production of probative evidence that there remains an issue of fact to be tried. Id.

     “Rule 56(c) mandates the entry of summary judgment, after adequate time for discovery and

     upon motion, against a party who fails to make a showing sufficient to establish the existence of

     an element essential to that party’s case, and on which that party will bear the burden of proof at

     trial.” Id. at 322. To defeat summary judgment, a non-moving party must do more “than simply

     show that there is some metaphysical doubt as to the material facts.” Matsushita Electric

Page 5 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                          Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
             Case 3:23-cv-01699-MC           Document 79                Filed 01/13/25   Page 6 of 19




     Industrial Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Rather, “where the record

     taken as a whole could not lead a rational trier of fact to find for the non-moving party, there is

     no ‘genuine issue for trial.’” Id. at 587.

     III.     Legal Argument.

              Defendant moves for summary judgment on five grounds: (A) Plaintiff’s claims for

     declaratory and injunctive relief are mooted by his release from custody; (B) Plaintiff’s RLUIPA

     claim is mooted by his release from custody; (C) Chaplain Ball’s conduct did not infringe

     Plaintiff’s constitutional rights; (D) Chaplain Ball is entitled to qualified immunity from money
     damages; and (E) Plaintiff has not alleged sufficient facts to support the damages he seeks in his

     Amended Complaint.

              A.      Plaintiff’s claims for declaratory and injunctive relief are mooted by his
                      release from custody.
              Because Plaintiff has released from ODOC custody and there is no reasonable

     expectation or demonstrated probability that he will again be subjected to the prison conditions

     from which he seeks injunctive relief, his claims for injunctive relief must be dismissed as moot.

     Dilley v. Gunn, 64 F.3d 1365, 1368-69 (9th Cir. 1995); see also Alvarez v. Hill, 667 F.3d 1061,

     1064 (9th Cir. 2012) (same for claims for declaratory relief). Plaintiff no longer has a legally

     cognizable interest in the outcome of this case:
              “Once an inmate is removed from the environment in which he is subjected to the
              challenged policy or practice, absent a claim for damages, he no longer has a
              legally cognizable interest in a judicial decision on the merits of his claim. Any
              declaratory or injunctive relief ordered in the inmate’s favor in such situations
              would have no practical impact on the inmate’s rights and would not redress in
              any way the injury he originally asserted. And the [released] inmate has no
              further need for such declaratory or injunctive relief, for he is free of the policy or
              practice that provoked his lawsuit in the first place.”
     Alvarez, 667 F.3d at 1064 (quoting Incumaa v. Ozmint, 507 F.3d 281, 286–87 (4th Cir. 2007)).

     Thus, Plaintiff’s release moots his claims for declaratory and injunctive relief.




Page 6 -    DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
            DH2/ls8/97965020                          Department of Justice
                                                     100 SW Market Street
                                                       Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000
            Case 3:23-cv-01699-MC           Document 79               Filed 01/13/25   Page 7 of 19




             B.      Plaintiff’s RLUIPA claim is mooted by his release from custody.

             RLUIPA does not authorize suits for money damages against state employees. Sossamon

     v. Texas, 563 U.S. 277, 293 (2011); see also Alvarez, 667 F.3d at 1063 (“money damages under

     RLUIPA are not available against states because of their sovereign immunity”); Haight v.

     Thompson, 763 F.3d 554, 568 (6th Cir. 2014) (affirming the district court’s dismissal of a

     plaintiff’s money damages claims against state prison officials in both their official and

     individual capacities because such claims were not permitted under RLUIPA).

             Plaintiff’s RLUIPA claim cannot move forward due to his release from custody because
     RLUIPA does not authorize suits for money damages against state employees, and—for the

     reasons discussed directly above—plaintiff’s release from custody moots his claims for

     declaratory and injunctive relief. See Alvarez, 667 F.3d at 1066 (affirming the district court’s

     dismissal of the plaintiff’s RLUIPA claims because money damages were barred and declaratory

     and injunctive relief claims were mooted by the plaintiff’s release from custody).

             C.      Chaplain Ball did not infringe Plaintiff’s constitutional rights.

                     1.       Chaplain Ball did not violate the First Amendment’s Establishment
                              Clause.
             Plaintiff alleges that Chaplain Ball violated the First Amendment’s Establishment Clause

     by failing to accommodate Jumu’ah prayer, failing to provide an Imam or volunteer to oversee

     the Jumu’ah prayer, and failing to provide a clean place for the Jumu’ah prayer. (Am. Compl.,

     Dkt. #9, ¶¶ 37-40, 43).

             The Establishment Clause of the First Amendment provides that “Congress shall make no

     law respecting an establishment of religion . . . .” The Supreme Court has stated, “This Court

     has long recognized that the government may (and sometimes must) accommodate religious

     practices and that it may do so without violating the Establishment Clause.” Hobbie v.

     Unemployment Appeals Comm'n of Fla., 480 U.S. 136, 144-45 (1987).

             Moreover, “in commanding neutrality the Religious Clauses do not require the

     government to be oblivious to impositions that legitimate exercises of state power may place on
Page 7 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                         Department of Justice
                                                   100 SW Market Street
                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
            Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 8 of 19




     religious belief and practice.” Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S.

     687, 705 (1994).

             The First Amendment’s establishment clause “prohibits the enactment of a law or official

     policy that ‘establishes a religion or religious faith, or tends to do so.’” Newdow v. Lefevre, 598

     F.3d 638, 643 (9th Cir. 2010) (quoting Lynch v. Donnelly, 465 U.S. 668, 678 (1984)). The

     clause applies to official condonement of a particular religion or religious belief, and to official

     disapproval or hostility towards religion. Am. Family Ass’n, Inc. v. City and County of San

     Francisco, 277 F.3d 1114, 1120-21 (9th Cir. 2002) (quotation marks and citations omitted).
             Here, Chaplain Ball’s conduct does not implicate the Establishment Clause. Rather, the

     uncontroverted evidence shows that Chaplain Ball attempted to locate an Imam or volunteer

     during his tenure, and collaborated with an Imam to ensure DRCI’s Muslim AICs had access to

     the written Khutba. It also shows that Chaplain Ball facilitated the Jumu’ah prayer by directly

     supervising it, requesting that a non-Islamic volunteer supervise it in his absence, or—failing

     both—ensuring that DRCI’s Muslim AICs had access to a written Khutba to conduct the prayer

     in their cells. And as to the areas where DRCI’s Muslim AICs participated in the Jumu’ah

     prayer, it shows that Chaplain Ball directed the clerks to clean those areas the day before the

     weekly prayer. Such conduct does not evidence official disapproval or hostility towards religion,

     but rather a chaplain using the resources available to them to ensure DRCI’s Muslim AICs

     maintained regular access to the Jumu’ah prayer.
                     2.       Chaplain Ball did not infringe Plaintiff’s First Amendment right to
                              free exercise of religion.
             Plaintiff alleges that Chaplain Ball violated his right to the free exercise of religion by

     failing to accommodate Jumu’ah prayer, failing to provide an Imam or volunteer to oversee the

     Jumu’ah prayer, and failing to provide a clean place for the Jumu’ah prayer. (Am. Compl.,

     Dkt. #9, ¶¶ 37-40, 43).

             In order to state a viable claim under the First Amendment’s Free Exercise Clause, an

     AIC must show an infringement upon a sincerely-held belief that is rooted in religion. Shakur v.

Page 8 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                          Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
            Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 9 of 19




     Schriro, 514 F.3d 878, 884-85 (9th Cir 2008) (citing Malik v. Brown, 16 F.3d 330, 333 (9th Cir

     1994)). Under the Shakur standard, the belief need not be mandated or central to a faith, but it

     must be sincerely held and rooted in a religion in order to trigger the First Amendment. Id.

             After an AIC has shown that he possesses a sincerely held belief, the AIC must next

     prove that the state infringed upon his belief, and that the justification for the state’s infringement

     is not reasonably related to legitimate penological interests. Turner v. Safley, 482 U.S. 78, 89

     (1987). In making this determination, the court must balance the AIC’s constitutionally

     protected right against the state’s interests in efficiently operating its prisons. Id. at 89. Courts
     must impart considerable deference to the expertise of state prison officials when reviewing

     challenged regulations. Id. at 84-85.

             Under Turner, there are four factors to consider when evaluating a challenged prison

     regulation: (a) whether there is a “‘valid, rational connection’ between the prison regulation and

     the legitimate government interest put forward to justify it”; (b) “whether there are alternative

     means of exercising the right that remain open to prison inmates”; (c) the effect that

     “accommodation of the asserted constitutional right will have on guards and other inmates, and

     on the allocation of prison resources generally”; and (d) the presence or absence of ready

     alternatives that fully accommodate the AIC’s rights at de minimis cost to the valid penological

     interests. Id. at 89-90.

                                a.   Rational Connection.

             Turner’s first prong requires that there be a rational connection between the restriction

     and the legitimate governmental interest used to justify it. Id.

             ODOC’s rules requiring that religious services be overseen by a facility chaplain or

     approved volunteer only in approved areas within a facility further ODOC’s interests in prison

     security by providing safe spaces where religious services may be supervised. If AICs were

     permitted to direct, lead, or conduct religious services for other AICs and to do so outside of

     approved areas, it could lead to dangerous power dynamics between AICs and/or AICs

Page 9 -   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           DH2/ls8/97965020                          Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
         Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 10 of 19




   misrepresenting faith traditions. (Ball Decl., ¶ 9). If ODOC were to allow AICs to lead

   impromptu religious services anywhere within its institutions, such services might also infringe

   on the rights of other AICs in the area who do not want to be involved. (Id.). Thus, there is a

   rational connection between the applicable ODOC’s rules and the legitimate governmental

   interest justifying them.

                           b.     Alternate Avenues.

          Turner’s second prong looks to whether alternative avenues of exercising the right

   remain open to the AIC. Turner, 482 U.S. at 90. The relevant inquiry under Turner’s second
   prong is “not whether the inmate has an alternative means of engaging in the particular religious

   practice that he or she claims is being affected; rather, [it is] whether the inmates have been

   denied all means of religious expression.” Ward v. Walsh, 1 F.3d 873, 878 (9th Cir 1993)

   (emphasis added) (quoting O’Lone v. Estate of Shabazz, 482 U.S. 342, 352 (1987)).

          Here, Plaintiff was not denied all means of religious expression at any time while he was

   incarcerated at DRCI. When Chaplain Ball was available and/or there was a volunteer available

   to supervise the Jumu’ah prayer, DRCI’s Muslic AICs—including Plaintiff—were provided an

   area to conduct the prayer. And in those rare cases where both Chaplain Ball and all volunteers

   were unavailable, Plaintiff maintained access to the written Khutba.

          This case is similar to two recent federal cases in California: Rhoden v. Dep’t of State

   Hosps., Case No.: 1:18-cv-00101-NONE-SAB (PC), 2020 WL 5737019 (E.D. Cal. Mar 3, 2020)

   and Austin v. Brown, Case No.: 18cv0600-WQH (JLB), 2020 WL 5294490 (S.D. Cal. Sept 3,

   2020). In Rhoden, an AIC claimed that his right to religious expression was infringed when his

   facility did not make staff available to supervise group religious services in his institution’s

   chapel. 2020 WL 5737019 at *2. But the district court concluded that the denial of access to

   group religious services did not deprive the AIC of “all means” of exercising his religious

   beliefs, because he was able to pray on his unit, read his Bible, and discuss his faith with other

   AICs, and he could possess a Bible, prayer book, rosary, picture of Christ, and a crucifix. Id. at

Page 10 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
        DH2/ls8/97965020                           Department of Justice
                                                  100 SW Market Street
                                                    Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000
         Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 11 of 19




   *16. Likewise, in Austin, a Buddhist AIC complained that his institution infringed his right to

   religious expression because weekly Buddhist chapel services at his institution were sometimes

   cancelled when no staff or volunteers were available to oversee them. 2020 WL 5294490 at *1.

   The court found that the plaintiff had not presented evidence that he was “denied all means of

   religious expression” when services were cancelled, because “Plaintiff ‘retained the ability to

   participate in other significant rituals and ceremonies of [his] faith.’” Id. at *11 (internal citation

   omitted).

           Ultimately, the law does not require prison officials to provide every accommodation
   where “[t]he limitations on the exercise of constitutional rights arise both from the fact of

   incarceration and from valid penological objectives.” O’Lone, 482 U.S. at 348. Under Turner,

   “where ‘other avenues’ remain available for the for the exercise of the asserted right . . . courts

   should be conscious of the ‘measure of judicial deference owed to corrections officials . . . in

   gauging the validity of the regulation.’” 482 U.S. at 90 (internal citation omitted).

           Here, as in Rhoden and Austin, ODOC’s rules did not deny Plaintiff all means of

   religious expression. Plaintiff had access to the written Khutba and could pray in his cell.

                           c.     Adverse Impact.

           The third Turner factor is whether accommodation of the right will have an adverse

   impact on guards, other AICs and prison resources generally. Turner, 482 U.S. at 90. “When

   accommodation of an asserted right will have a significant ‘ripple effect’ on fellow inmates or on

   prison staff, courts should be particularly deferential to the informed discretion of corrections

   officials.” Id.

           Here, permitting the AICs to gather together for group religious services—such as the

   Jumu’ah Prayer—in unapproved areas and without supervision would jeopardize institutional

   security and the rights of other AICs in the vicinity of such impromptu services for the reasons

   previously stated.



Page 11 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
        DH2/ls8/97965020                           Department of Justice
                                                  100 SW Market Street
                                                    Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000
        Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 12 of 19




                           d.     Ready Alternatives.

          The final Turner factor in assessing the reasonableness of a prison regulation is the

   absence of ready alternatives. In evaluating whether ready alternatives exist, “prison officials do

   not have to set up and then shoot down every conceivable alternative method of accommodating

   the claimant’s constitutional complaint.” Turner, 482 U.S. at 90-91. Prison officials do not bear

   the burden of disproving the availability of all alternatives to the alleged infringement because

   such an approach “fails to reflect the respect and deference that the United States Constitution

   allows for the judgment of prison administrators.” O’Lone, 482 U.S. at 350.
          Here, there are no ready alternatives to ODOC’s rules requiring that religious services be

   conducted only by chaplains or approved volunteers only in approved spaces.
                  3.       Chaplain Ball did not infringe Plaintiff’s Fourteenth Amendment
                           right to equal protection.
          Plaintiff alleges that Chaplain Ball violated his right to equal protection because he

   provided volunteers for practitioners of other religions and otherwise accommodated those

   practitioners, while not doing the same for those participating in the Jumu’ah prayer.

          The Equal Protection Clause of the Fourteenth Amendment provides that no state shall

   “deny to any person within its jurisdiction the equal protection of the laws, which is essentially a

   direction that all persons similarly situated should be treated alike.” City of Cleburne v.

   Cleburne Living Center, 473 U.S. 432, 439 (1985).

          Under the Equal Protection clause, prisons must provide each AIC with a “reasonable

   opportunity of pursuing his faith comparable to the opportunity afforded fellow prisoners who

   adhere to conventional religious precepts.” Shakur, 514 F.3d at 891 (quoting Cruz v. Beto, 405

   U.S. 319, 322 (1972)). These opportunities need not be identical. Cruz, 405 U.S. at 322 n.2.

   Rather, prisons must make “good faith accommodation of the [AICs’] rights in light of practical

   considerations.” Allen v. Toombs, 827 F.2d 563, 569 (9th Cir. 1987). Thus, to establish an equal

   protection violation, Plaintiff must show that Defendant intentionally discriminated against him

   on the basis of his religion by failing to provide him a reasonable opportunity to pursue his faith

Page 12 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
        DH2/ls8/97965020                          Department of Justice
                                                 100 SW Market Street
                                                   Portland, OR 97201
                                          (971) 673-1880 / Fax: (971) 673-5000
        Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 13 of 19




   compared to other similarly situated religious groups. Cruz, 405 U.S. at 321-22; Freeman v.

   Arpaio, 125 F.3d 732, 737 (9th Cir. 1997) (“To succeed on an equal protection claim, a plaintiff

   in a section 1983 claim must show that officials intentionally acted in a discriminatory

   manner.”), abrogated on other grounds as stated in Shakur, 514 F.3d at 884-85.

          Chaplain Ball did not deny Plaintiff an opportunity to pursue his faith while he was

   incarcerated at DRCI. Rather, the uncontroverted evidence shows that Chaplain Ball made a

   good faith effort to facilitate the Jumu’ah prayer as often as possible. If he was available, he

   personally supervised the Jumu’ah prayer. If he was not available, he asked a non-Islamic
   volunteer to supervise the Jumu’ah prayer. If no volunteer was available, he corresponded with

   an Imam to obtain a written Khutba, and then ensured it was delivered to the Muslim AICs at

   DRCI for individual prayer. And as to the areas where DRCI’s Muslim AICs participated in the

   Jumu’ah prayer, the uncontroverted evidence shows that Chaplain Ball directed the clerks to

   clean those areas the day before the weekly prayer.

          That Chaplain Ball was unable to find a full-time volunteer to supervise the Jumu’ah

   prayer—but may have been able to locate a volunteer to supervise other religious groups in their

   practices—reflects the resources available to a prison chaplain in Eastern Oregon, not intentional

   discrimination.

          D.      Chaplain Ball is entitled to qualified immunity from damages.

          Chaplain Ball is entitled to qualified immunity, which shields government officials from

   liability for damages when they make decisions that, even if constitutionally deficient,

   reasonably misapprehend the law governing the circumstances they confronted. Brosseau v.

   Haugen, 543 U.S. 194, 198 (2004); Saucier v. Katz, 533 U.S. 194, 206 (2001).

          An official should be denied qualified immunity only when “[t]he contours of the right

   [are] sufficiently clear that a reasonable official would understand that what he is doing violates

   that right.” Anderson v. Creighton, 483 U.S. 635, 640 (1987). Qualified immunity is immunity

   from suit, not merely a defense to liability. Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). Like

Page 13 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
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                                          (971) 673-1880 / Fax: (971) 673-5000
         Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 14 of 19




   absolute immunity, qualified immunity is effectively lost if a case is erroneously permitted to go

   to trial. Id. Consequently, the Court has repeatedly “stressed the importance of resolving

   immunity questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224,

   227 (1991) (per curiam); Saucier, 533 U.S. at 201.

          To determine whether an individual is entitled to qualified immunity, the first relevant

   inquiry is whether the official violated the plaintiff’s constitutional rights. Saucier, 533 U.S. at

   201. The second relevant question is whether the law governing that right is clearly established.

   Id. “The relevant, dispositive inquiry in determining whether a right is clearly established is
   whether it would be clear to a reasonable officer that his conduct was unlawful in the situation he

   confronted.” Id. at 202.

          The Supreme Court has explained that although courts may apply these questions in

   order, courts have the discretion to determine “whether that procedure is worthwhile.” Pearson

   v. Callahan, 555 U.S. 223, 242 (2009) (“[J]udges . . . are in the best position to determine the

   order of decision making.”). Courts may end the inquiry if either question is answered

   affirmatively. Id. at 236. For example, a court extended qualified immunity to a government

   official who did exactly as she was required under the administrative rules, which she did not

   draft, in Neely v. Feinstein, 50 F.3d 1502, 1511 (9th Cir. 1995).

          Regardless of whether this Court decides to use one or both Saucier steps, Chaplain Ball

   is entitled to qualified immunity. No constitutional violation occurred here, but even if the Court

   concludes that a violation did occur, the right was not clearly established.

          No constitutional violation occurred because ODOC’s rules requiring that religious

   services be conducted only by chaplains or approved volunteers and only in approved spaces

   pass constitutional muster under Turner, and plaintiffs were not denied all means of religious

   expression.

          It is not clearly established in the case law that providing AICs with a written sermon to

   follow in their cells on those days when the chaplain or an approved volunteer is unavailable to

Page 14 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
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         Case 3:23-cv-01699-MC            Document 79              Filed 01/13/25   Page 15 of 19




   lead a congregate service would violate Plaintiff’s rights. To the contrary, the case law suggests

   that such a course is Turner compliant. See, e.g., Rhoden v. Dep’t of State Hosp.s, Case No.:

   1:18-cv-00101-NONE-SAB (PC), 2020 WL 5737019 (E.D. Cal. Mar 3, 2020); Austin v. Brown,

   Case No.: 18cv0600-WQH (JLB), 2020 WL 5294490 (S.D. Cal. Sept 3, 2020).

           In addition, Chaplain Ball is entitled to qualified immunity because his actions comported

   with the administrative rules, which he himself did not draft. Neely, 50 F.3d at 1511; see

   also, e.g., Hansen v. Cal. Dep’t of Corr.s, 920 F. Supp. 1480, 1485 (N.D. Cal. 1996) (noting that

   “[a]n officer who is following a statute or administrative rule should generally be accorded
   qualified immunity for his actions unless a reasonable officer should have known that the law or

   rule in question was unconstitutional.” (citation omitted)).

           Given the case law—along with the Oregon Administrative Rules and DRCI’s housing

   unit guidelines—it would not have been apparent to Chaplain Ball that accommodating Muslim

   AICs on days that the chapel was closed with a written Khutba for use in their cells would

   violate their constitutional rights.

           Accordingly, even if Chaplain Ball violated Plaintiff’s constitutional rights, qualified

   immunity shields him from damages.

           E.      Plaintiff has not alleged sufficient facts to support the damages he seeks in
                   his Amended Complaint.
           Plaintiff requests compensatory and punitive damages in his Amended Complaint (Am.
   Compl., Dkt. #9, pp. 22-23), but he cannot recover either category of damages in this lawsuit.
                   1.      Plaintiff’s request for compensatory damages is barred by 42 U.S.C.
                           § 1997e(e).
           Plaintiff cannot recover compensatory damages because he has not alleged a physical

   injury. Under § 1997e(e) of the Prison Litigation Reform Act (PLRA), “[n]o Federal civil action

   may be brought by a prisoner confined in a jail, prison, or other correctional facility, for mental

   or emotional injury suffered while in custody without a prior showing of physical injury or the

   commission of a sexual act.” 42 U.S.C. § 1997e(e).


Page 15 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
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                                          (971) 673-1880 / Fax: (971) 673-5000
         Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 16 of 19




          This provision of the PLRA is in keeping with the United States Supreme Court’s clear

   guidance that damages cannot compensate for the abstract value of constitutional rights. In

   Carey v. Piphus, the Court held that it was error for the appellate court to conclude that the

   respondents were entitled to recover “damages to compensate them for the injury which is

   inherent in the nature of the wrong . . . even if they fail to prove that the denial of procedural due

   process actually caused them some real, if intangible, injury.” 435 U.S. 247, 261 (1978) (citation

   omitted) (internal quotation marks omitted). That Court later remarked that “Carey … makes

   clear that the abstract value of a constitutional right may not form the basis for § 1983 damages.”
   Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 308 (1986). Rather, the appropriate award

   of damages in such an instance is nominal damages. Id. at 308 n. 11.

          Despite the Supreme Court’s clear guidance, the Ninth Circuit muddied the waters when

   confronted with a § 1997e(e) argument in Oliver v. Keller, 289 F.3d 623 (9th Cir. 2002). In

   Oliver, the Ninth Circuit attempted to distinguish between claims based on emotional or mental

   distress and claimed based on constitutional violations, asserting that § 1997e(e) applied to the

   former, but not the latter. Id. at 629-30. District courts in this circuit have not found this

   distinction an easy one to apply, leading one district judge to note that Oliver is “hardly a model

   of clarity[.]” Cockcroft v. Kirkland, 548 F. Supp. 767, 776 (N.D. Cal. 2008).

          Since Oliver, several district judges have concluded that compensatory damages are

   unavailable in the absence of a physical injury. See Quinn v. Singh, No. 11-CV-1085-DMS

   (JMA), 2012 WL 3868014, at *4 (S.D. Cal. July 27, 2012) (no compensatory damages available

   where the plaintiff alleged he was “attacked physically, brutally,” but did not allege any physical

   injury); Preayer v. Ryan, No. CV-15-00069-PHX-DGC, 2017 WL 2351601, at *1-2 (D. Ariz.

   May 31, 2017) (holding that the plaintiff may only seek compensation for pain and suffering if

   he suffered a physical injury); Colvin v. Sanchez, No. 14-CV-05400-LB, 2020 WL 1450555, at

   *7 (N.D. Cal. Mar. 25, 2020) (rejecting the plaintiff’s argument that he is entitled to damages for

   mental and emotional distress, even without physical injury). These decisions are in keeping

Page 16 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
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         Case 3:23-cv-01699-MC            Document 79               Filed 01/13/25   Page 17 of 19




   with decisions from several sister circuits. See, e.g., Thompson v. Carter, 284 F.3d 411, 418 (2d

   Cir. 2002); Allah v. Al-Hafeez, 226 F.3d 247, 250-51 (3d Cir. 2000); Hutchins v. McDaniels, 512

   F.3d 193, 198 (5th Cir. 2007); Calhoun v. De Tella, 319 F.3d 936, 941 (7th Cir. 2003); Royal v.

   Kautzky, 375 F.3d 720, 723-24 (8th Cir. 2004); Searles v. Van Bebber, 251 F.3d 869, 878-79

   (10th Cir. 2001).

           Defendant urges this Court to adopt the approach followed in the above cases. Applying

   that approach here, Plaintiff is proscribed from recovering any compensatory damages in this

   lawsuit because he has failed to allege a physical injury.
                   2.       Plaintiff’s allegations do not support an award of punitive damages.

           Nor can Plaintiff recover punitive damages against Defendant. Plaintiff has sued

   Defendant in both his individual and official capacities, but punitive damages under § 1983 are

   only recoverable against officials sued in their individual capacity. See City of Newport v. Fact

   Concerts, Inc., 453 U.S. 247, 271 (1981); Smith v. Wade, 461 U.S. 30 (1983). And punitive

   damages may only be awarded when the defendant’s conduct is shown to be motivated by evil

   intent or where it involves reckless or callous indifference to federally protected rights of others.

   Smith, 461 U.S. at 56.

           Here, Plaintiff states that he is entitled to punitive damages to “deter unconstitutional

   action,” (Am. Compl., Dkt. #9, p. 23), but does not make any allegation that Defendant acted

   with evil intent or motive. Accordingly, Plaintiff cannot recover punitive damages against

   Defendant.

   IV.     Conclusion.

           Plaintiff’s claims for declaratory and injunctive relief are mooted by his release from

   prison (as is his RLUIPA claim), Chaplain Ball did not infringe Plaintiff’s constitutional rights,

   Chaplain Ball is entitled to qualified immunity, and Plaintiff has not alleged sufficient facts to

   support the damages he seeks in his Amended Complaint.



Page 17 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
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        Case 3:23-cv-01699-MC              Document 79              Filed 01/13/25   Page 18 of 19




          For those reasons, Chaplain Ball is entitled to summary judgment and the Court should

   enter judgment in his favor.

          DATED January       13 , 2025.

                                                         Respectfully submitted,

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Page 18 - DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
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            Case 3:23-cv-01699-MC      Document 79               Filed 01/13/25   Page 19 of 19




                                   CERTIFICATE OF SERVICE

             I certify that on January 13 , 2025, I served the foregoing DEFENDANT'S MOTION

     FOR SUMMARY JUDGMENT upon the parties hereto by the method indicated below, and

     addressed to the following:


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